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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 _____________________________________________
                                              :
 SHIVA STEIN,                                 :
                                              :
                         Plaintiff,           :                16-cv-6252-RRM-SJB
                                              :
             - against -                      :
                                              :
 1-800-FLOWERS.COM, INC.,                     :
                                              :
                         Defendant.           :
 _____________________________________________:

 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE AND WITHDRAWAL OF
             MOTION FOR ATTORNEYS FEES AND EXPENSES

        Plaintiff Shiva Stein voluntarily dismisses this action with prejudice pursuant to Fed. R.

 Civ. P. 41 (a)(1)(A)(i), and withdraws her motion for attorneys’ fees and expenses.


 Dated: New York, New York                            BARRACK, RODOS & BACINE
        April 15, 2019

                                                      By:      /s/ A. Arnold Gershon
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